        Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 1 of 12




                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

 REGIS HARVEY, AMANDA COLLINS,
 ANDREA MCDONALD, Individually and               Case No. 1:14-cv-00161-BLW
 On Behalf of All Others Similarly Situated,
                                                 MEMORANDUM DECISION AND
                                                 ORDER
        Plaintiff,

        v.

 MAXIMUS INC.,

        Defendant.



                                     INTRODUCTION

       Before the Court is Defendant Maximus’ Motion to Dismiss Amended Complaint

(Dkt. 5). The Court finds that oral argument will not assist the decisional process. Based

on the pleadings and record before it, the Court will grant in part and deny in part the

Motion, as more fully expressed below.

                                   LEGAL STANDARD

       1.     Legal Standard for Rule 12(b)(6) Motions

       Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement

of the claim showing that the pleader is entitled to relief,” in order to “give the defendant

fair notice of what the . . . claim is and the grounds upon which it rests.” Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 1964 (2007). While a complaint

attacked by a Rule 12(b)(6) motion to dismiss “does not need detailed factual


MEMORANDUM DECISION AND ORDER - 1
        Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 2 of 12




allegations,” it must set forth “more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Id. at 555. To survive a

motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to

“state a claim to relief that is plausible on its face.” Id. at 570. A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged. Id. at 556.

The plausibility standard is not akin to a “probability requirement,” but it asks for more

than a sheer possibility that a defendant has acted unlawfully. Id. Where a complaint

pleads facts that are “merely consistent with” a defendant's liability, it “stops short of the

line between possibility and plausibility of ‘entitlement to relief.’ ” Id. at 557.

       The Supreme Court identified two “working principles” that underlie Twombly in

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). First, the court need not accept as true, legal

conclusions that are couched as factual allegations. Id. Rule 8 does not “unlock the

doors of discovery for a plaintiff armed with nothing more than conclusions.” Id. at 678-

79. Second, to survive a motion to dismiss, a complaint must state a plausible claim for

relief. Id. at 679. “Determining whether a complaint states a plausible claim for relief

will . . . be a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id.

      Under Rule 12(b)(6), the Court may consider documents referred to in the

complaint, although not attached thereto, without transforming the motion to dismiss into




MEMORANDUM DECISION AND ORDER - 2
           Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 3 of 12




 a motion for summary judgment. See Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir.

 2005).

                                           ANALYSIS

          After acquiring a new contract to serve as a call center for health insurance

 exchanges, Maximus hired new employees to meet its demand. Maximus employs both

 “regular capacity” and “limited service” employees. Limited service employees work

 full-time for a defined period of time, while regular capacity employees work at-will

 without a contractually defined period of time. Plaintiffs were hired as regular capacity

 employees and believed that they were accepting a career opportunity with Maximus.

 They were let go as part of a reduction in force, which they claim was planned before

 they were hired. Plaintiffs argue fraudulent misrepresentation because Maximus marketed

 and offered open ended career opportunities when it knew that they were limited in time.

 Plaintiffs also argue negligent misrepresentation and promissory estoppel. Maximus’

 motion seeks to dismiss the complaint for failure to state a claim and plead fraud with

 particularity. Def.’s Br. at 3 Dkt 5-1.

I.        Fraudulent Misrepresentation

          Under Federal Rule of Civil Procedure 9(b), a plaintiff must plead each of the

 elements of a fraud claim with particularity—meaning that a plaintiff “must set forth

 more than the neutral facts necessary to identify the transaction.” Cooper v. Pickett, 137

 F.3d 616, 625 (9th Cir.1997). In other words, fraud claims must be accompanied by the

 “who, what, when, where, and how” of the fraudulent conduct charged. Vess v. Ciba–



     MEMORANDUM DECISION AND ORDER - 3
        Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 4 of 12




Geigy Corp., USA, 317 F.3d 1097, 1106 (9th Cir.2003). A pleading is sufficient under

Rule 9(b) if it identifies the circumstances constituting fraud so that a defendant can

prepare an adequate answer from the allegations. Moore v. Kayport Package Express,

Inc., 885 F.2d 531, 540 (9th Cir.1989). While statements of the time, place, and nature of

the alleged fraudulent activities are sufficient, mere conclusory allegations of fraud are

insufficient. Id. A party may allege on information and belief under circumstances in

which the required facts are peculiarly within the defendant’s knowledge or control, but,

should they do so, the party must still state the factual basis for the belief. Neubronner v.

Milken, 6 F.3d 666, 672 (9th Cir.1993).

       Maximus contends that Plaintiffs complaint contains fundamental defects which

prevent Maximus from preparing an adequate response. These fundamental defects

include lack of particularity in general, and failure to plead all elements of fraud with

particularity.

       A.        Pled with Particularity

       Maximus contends that Plaintiffs have not sufficiently pled “the time, place and

content of the fraudulent representation” and simply rely on “conclusory allegations.”

Shroyer, 622 F.3d at 1042. Plaintiffs have not listed exact dates, places, or names of

individual representative of Maximus which were involved with this alleged fraud. But

Plaintiffs have given the circumstances surrounding fraud. Rule 9(b) does not require

“absolute particularity . . . especially when some matters are beyond the knowledge of the

pleader and can only be developed through discovery.” 5A Wright and Miller, Federal



MEMORANDUM DECISION AND ORDER - 4
        Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 5 of 12




Practice & Procedure, § 1298 at p. 192 (3d ed.2004). If the circumstances surrounding

fraud are given with enough particularity for the defense to prepare an adequate answer,

Rule 9(b) is satisfied. Odom v. Microsoft Corp., 486 F.3d 541, 555 (9th Cir. 2007).

       Simply alleging that Maximus told Plaintiffs that “regular capacity” employees

would remain employed after the first open enrollment period would not be enough to

satisfy Rule 9(b). However, Plaintiffs also provide a specific circumstance when these

assurances were first made—the initial interview. Am. Comp. ¶ 43, Dkt. 3. Plaintiffs also

corroborate their complaint by supplying an offer letter that refers to their employment as

a “career opportunity” and explains compensation “in succeeding years.” Ex. A at 2, Dkt.

3-1. Plaintiffs use Maximus’ own documentation (Id. at 10) to argue that Maximus knew

that it was effectually hiring “limited service” employees, even though they were being

presented as “regular capacity” employees.

       The “who, what, when, where, and how” are satisfied by Plaintiffs pleading of the

circumstances constituting fraud, which are sufficient for Maximus to prepare an

adequate answer to the complaint. Maximus is the best source to obtain any specific

information regarding exact dates and names if they feel it is necessary to respond to the

complaint.

       B.     Elements of Fraud

       To prove fraud, a plaintiff must establish the following elements: “(1) a

representation; (2) its falsity; (3) its materiality; (4) the speaker's knowledge about its

falsity or ignorance of its truth; (5) his intent that it should be acted upon by the person



MEMORANDUM DECISION AND ORDER - 5
        Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 6 of 12




and in the manner reasonably contemplated; (6) the hearer's ignorance of its falsity; (7)

his reliance on the [representation]; (8) his rights to rely thereon; (9) his consequent and

proximate injury.” Jenkins v. Boise Cascade Corp., 108 P.3d 380, 386 (Idaho 2005)

(internal citation omitted). Maximus objects to Plaintiffs’ complaint on every element of

fraud. Each is addressed below.

              1. Representation

       Plaintiffs allege representations of career-type work from Maximus. Plaintiffs

have pled a consistent and plausible message—from interview to offer letter—that

Maximus was offering career type work without a predetermined timeline for

termination. See Am. Comp. Dkt. 3. Plaintiffs have not changed or expanded their

pleading by explaining that they were promised the opportunity of career employment.

Pl.’s Res. At 5-7 Dkt. 10. Plaintiffs’ clarification refutes Maximus’ argument that at-will

employment language in the offer letter contradicts Plaintiffs’ claim of early termination.

Def.’s Br. At 4, Dkt. 5-1. Plaintiffs are not arguing a breach of contract for early

termination. They are arguing that they were misled from the beginning about the type of

employment they were entering into. No at-will job is guaranteed, but there is a

significant difference between career type at-will positions, and seasonal or temporary at-

will positions. Plaintiffs correctly rely upon Meade to show that at-will employment does

not shield an employer from claims arising from misrepresentations about the nature of

the employment. Pl.’s Res. At 10, Dkt. 10.




MEMORANDUM DECISION AND ORDER - 6
        Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 7 of 12




              2. Falsity

       Plaintiffs argue that they were offered positions that would exist past the initial

enrolment, and were career-type positions. Because of the at-will nature of the

employment, it is not enough to simply show that Plaintiffs are no longer working at

Maximus. However, Plaintiffs’ complaint illustrates that Maximus did not just lay off

workers, it executed a reduction in force which reduced positions. Am. Comp. ¶ 55, Dkt.

3. Maximus’s planned elimination of the position is a sufficient allegation that the

representation that Plaintiffs were being offered “regular capacity” positions was false.

              3. Materiality

       Plaintiffs have pled that they gave up long-term employment to work for

Maximus. Id. ¶ 13-15. They claim that the promise of a career opportunity led them to

leave current employment, and accept an employment offer from Maximus. Id. ¶ 86.

Because Plaintiffs would not have changed their position by giving up long-term

employment had they known they were only being offered temporary employment, the

representations were material.

              4. Masimus’ Knowledge of Falsity

       The Ninth Circuit has concluded “that plaintiffs may aver scienter generally, just

as [Rule 9(b)] states—that is, simply by saying that scienter existed.” In re GlenFed, Inc.

Sec. Litig., 42 F.3d 1541, 1547 (9th Cir.1994)(en banc). Plaintiffs satisfy this requirement

when they allege “Defendants knew that its representations were false…” Am. Comp. ¶




MEMORANDUM DECISION AND ORDER - 7
        Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 8 of 12




68, Dkt. 3. Plaintiffs go even further by offering documentation (Ex. A at 10, Dkt. 3-1)

that supports their claim that Maximus knew that its representations were false.

              5. Intent that a False Representation be Acted Upon

       Again, the Ninth Circuit concluded “that plaintiffs may aver scienter generally,

just as [Rule 9(b)] states—that is, simply by saying that scienter existed.” In re GlenFed,

Inc. Sec. Litig., 42 F.3d 1541, 1547 (9th Cir.1994)(en banc). Plaintiffs meet this

requirement when they pled that “Defendant intended for Plaintiffs to act on its untrue

representation” Am. Comp. ¶ 69, Dkt. 3.

              6. Plaintiffs’ Ignorance of Falsity

       Plaintiffs have pled with particularity that they were ignorant of the definite

duration of their employment. Maximus argues that Plaintiffs were aware of the at-will

condition of their employment, and thus were aware they could be terminated at any

time. However, this misconstrues the nature of the Plaintiffs’ allegations. Again, it is the

promise of “regular-capacity” employment that is alleged to be false, not the terms of the

contract. Nothing in the offer letter would alert Plaintiffs they were being offered

anything other than a career opportunity. Ex. A at 2-4, Dkt. 3-1 On the contrary, the offer

letter appears to perpetuate the notion that Plaintiffs were entering career-type

employment with the potential for yearly pay increases. Id. Plaintiffs have successfully

pled their ignorance of falsity.




MEMORANDUM DECISION AND ORDER - 8
        Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 9 of 12




              7. Plaintiffs’ Reliance

       Plaintiffs’ acceptance of employment is evidence that they relied on the

representations of Maximus. They also quit secure jobs in order to work for Maximus.

Am. Comp. ¶ 13-15, Dkt. 3. Again, Maximus attempts to frame this as a breach of

contract claim, barred by the at-will nature of the employment. And the case upon which

they rely, Snoey v Advanced Forming Technoloty, Inc.,844 F. Supp. 1394 (1994), is

concerns wrongful termination and an estoppel claim regarding the length of

employment. The passage relied upon by Maximus speaks mainly to an estoppel claim

related to the terms of the contract, and has little if any application to reliance in the

context of a fraud claim. As has been discussed earlier, Plaintiffs are not arguing a breach

of contract for early termination – they are arguing that they were misled from the

beginning about the type of employment they were entering into.

              8. Right to Rely

       Because of the clear at-will language in the offer letter, Plaintiffs have no right to

rely on a contract for an extended period of time. But Plaintiffs’ complaint does not argue

breach of contract for early termination. As explained above, Plaintiffs argue that they

were relying on the representation from Maximus that they were accepting career type

employment. No at-will job is guaranteed, but there is a significant difference between a

career-type at-will position, and a seasonal or temporary at-will position. This

representation is reinforced by the offer letter outlining yearly raises. Ex. A at 2, Dkt. 3-1.

Plaintiffs right to rely is clearly laid out in the circumstances of interviews and



MEMORANDUM DECISION AND ORDER - 9
              Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 10 of 12




       subsequent offer letter. Id. They correctly pled that they “had a right to rely upon the

       representations made by Maximus.” Am. Comp. ¶ 71, Dkt 3.

                     9. Proximate Injury

              Plaintiffs have sufficiently pled proximate injury: “Plaintiffs left viable

       employment for a career opportunity at Maximus, and/or Plaintiffs selected employment

       opportunity at Maximus over other available career opportunities. Further, Plaintiffs are

       no longer employed by Maximus as they were subject to the RIF.” Am. Comp. ¶ 72, Dkt.

       3. Accepting Plaintiffs arguments as true, their reliance on Maximus’ representations

       resulted in their leaving or forgoing secure employment, for temporary and now non-

       existing employment.

 II.          Negligent Misrepresentation

              Both parties agree that the claim for negligent misrepresentation should be

       dismissed.

III.          Promissory Estopel

              The elements of promissory estoppel are: “ ‘(1) the detriment suffered in reliance

       was substantial in an economic sense; (2) substantial loss to the promisee acting in

       reliance was or should have been foreseeable by the promisor; and (3) the promisee must

       have acted reasonably in justifiable reliance on the promise as made.’ ” Mitchell v.

       Bingham Memorial Hosp., 130 Idaho 420, 942 P.2d 544 (1997) (quoting Black Canyon

       Racquetball Club, Inc. v. Idaho First Nat'l Bank, 804 P.2d 900, 907 n. 2 (1991)) (quoting

       Mohr v. Shultz, 388 P.2d 1002, 1008 (1964))).



       MEMORANDUM DECISION AND ORDER - 10
          Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 11 of 12




          Plaintiffs cannot use promissory estoppel simply to alter the agreement they made

with Maximus. A claim of “promissory estoppel is simply a substitute for consideration,

not a substitute for an agreement between parties.” Chapin v. Linden, 162 P.3d 772, 776

(Idaho 2007). But, promissory estoppel is proper when one party has characterized an

offer as one thing, but actually offers something different. Promissory estoppel, as a

substitute for consideration, would represent whatever consideration was represented in

the agreement. Here, Plaintiffs pled that Maximus said it was offering “regular capacity”

or career type employment, but actually offered temporary employment. Am. Comp. ¶ 16,

Dkt. 3.

          Plaintiffs have presented a plausible argument that they reasonably relied on

Maximus’ representation that they would be “regular capacity” employees with an

indefinite period of employment. Id. Plaintiffs have offered documents (Ex. A at 10, Dkt.

3-1.) which suggest that Maximus knew at the time employment was offered that it was

for a limited period of time, even if the duration was not exactly defined. Plaintiffs have

also shown substantial harm, evidenced by their termination from Maximus and from

leaving or forgoing other secure employment. Am. Comp. ¶ 13-15, Dkt. 3. Thus,

Plaintiffs’ estoppel argument is sufficiently pled to survive a motion to dismiss.




MEMORANDUM DECISION AND ORDER - 11
      Case 1:14-cv-00161-BLW Document 17 Filed 11/19/14 Page 12 of 12




                                       ORDER

     IT IS ORDERED:

     1. Defendant’s Motion to Dismiss (Dkt. 5) is GRANTED IN PART and

        DENIED IN PART. It is granted as to the negligent misrepresentation claim

        and denied as to all other claims.



                                             DATED: November 19, 2014


                                             _________________________
                                             B. Lynn Winmill
                                             Chief Judge
                                             United States District Court




MEMORANDUM DECISION AND ORDER - 12
